Case 1:18-bk-13319   Doc 23   Filed 11/07/18 Entered 11/07/18 17:35:37   Desc Main
                              Document     Page 1 of 7
Case 1:18-bk-13319   Doc 23   Filed 11/07/18 Entered 11/07/18 17:35:37   Desc Main
                              Document     Page 2 of 7
Case 1:18-bk-13319   Doc 23   Filed 11/07/18 Entered 11/07/18 17:35:37   Desc Main
                              Document     Page 3 of 7
Case 1:18-bk-13319   Doc 23   Filed 11/07/18 Entered 11/07/18 17:35:37   Desc Main
                              Document     Page 4 of 7
Case 1:18-bk-13319   Doc 23   Filed 11/07/18 Entered 11/07/18 17:35:37   Desc Main
                              Document     Page 5 of 7
Case 1:18-bk-13319   Doc 23   Filed 11/07/18 Entered 11/07/18 17:35:37   Desc Main
                              Document     Page 6 of 7
Case 1:18-bk-13319   Doc 23   Filed 11/07/18 Entered 11/07/18 17:35:37   Desc Main
                              Document     Page 7 of 7
